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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS

 DAVID FOLKENFLIK; NATIONAL                    §
 PUBLIC RADIO, INC.; EDITH                     §
 CHAPIN; LESLIE COOK; AND                      §
 PALLAVI GOGOI,                                §
                                               §
        Movants,                               §
                                               §
 V.                                            §         Ancillary to CIVIL ACTION NO.
                                               §
 CHAPWOOD CAPITAL INVESTMENT                   §         4:18-CV-00442-ALM (E.D. Tex.)
 MANAGEMENT, LLC,                              §
                                               §
                                               §
                                               §
                                               §
        Respondent.                            §



  MOTION TO COMPEL CHAPWOOD CAPITAL INVESTMENT MANAGEMENT,
          LLC TO COMPLY WITH FED. R. CIV. P. 45 SUBPOENA


       Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Movants David Folkenflik,

National Public Radio, Inc., Edith Chapin, Leslie Cook and Pallavi Gogoi (collectively, “NPR”),

by their undersigned counsel, file this Motion and the accompanying Declaration of Laura Lee

Prather (“Prather Decl.”) (App. pp. 1-2) to compel Chapwood Capital Investment Management,

LLC (“Chapwood”) to comply with a properly served subpoena issued pursuant to Rule 45.

                                         I.
                                FACTUAL BACKGROUND

       Ed Butowsky (“Butowsky”) filed suit against NPR and several of its employees in the

Eastern District of Texas, asserting claims for defamation, business disparagement and civil

conspiracy. See Butowsky v. Folkenflik, et al., No. 4:18-CV-00442-ALM (E.D. Tex.), Second Am.

Compl., Dkt. 72. For several months, NPR has sought to obtain discovery from Butowsky
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regarding damages he allegedly sustained, including alleged damages to his personal and

professional reputation and to Chapwood, his wealth management business. NPR’s attempts to

engage Butowsky in reasonable discovery to prepare its defense have been met with delay tactics

and outright obstruction. See Butowsky v. Folkenflik, et al., No. 4:18-CV-00442-ALM (E.D. Tex.),

Mot. to Compel, Dkt. 85. To date, Butowsky has repeatedly promised but failed to produce

evidence in support of his financial damages claims.

       Similarly, NPR’s subpoenas issued to Chapwood and its managing partner Kim Sams

pursuant to Rule 45 of the Federal Rules of Civil Procedure have been met with silence. NPR has

already been forced to file a motion to compel against Ms. Sams, and the motion has been assigned

to Judge Kinkeade and referred to Judge Rutherford. Folkenflik v. Sams, 3:20-mc-00005-K. Last

week, Mr. Butowsky’s counsel in the underlying Eastern District of Texas action told NPR that he

also represents Chapwood and requested an additional week to respond to the subpoena. NPR

granted the extension, which expired January 22, 2020. Chapwood did not produce any documents

or otherwise respond to the Subpoena.

       As stated in Butowsky’s Second Amended Complaint, Butowsky founded Chapwood, a

“private wealth management advisory firm” in 2005. Butowsky v. Folkenflik, et al., No. 4:18-CV-

00442-ALM (E.D. Tex.), Second Am. Compl., Dkt. 72, ¶ 9. Chapwood provides “comprehensive

financial counseling and investment advice to wealthy families and individuals.” Id. Butowsky

alleges that NPR’s publication of certain news articles caused “the termination and loss of

Chapwood’s Investment Manager Service Agreement with Charles Schwab,” as well as additional

“loss of clients.” Id. ¶ 11. In turn, these alleged losses purportedly resulted in $60 million in

damages to Butowsky, which he seeks to recover in his lawsuit against NPR in the Eastern District

of Texas.



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          On November 15, 2019, NPR issued a subpoena to Chapwood pursuant to Rule 45 of the

Federal Rules of Civil Procedure (the “Subpoena”), seeking documents related to the damages

allegedly suffered by Chapwood. Prather Decl. at ¶ 2 (App. pp. 1-2); Ex. A (App. pp. 3-13). A

process server effected service of the Subpoena in person on November 18, 2019 at Chapwood’s

offices located at 4965 Preston Park Blvd., Suite 100, Plano, Texas 75093 in Collin County.

Prather Decl. ¶ 3 (App. p. 2); Ex. B (App. pp. 14-17). According to the terms of the Subpoena,

Chapwood was required to produce documents at the Dallas, Texas offices of Haynes and Boone,

LLP by December 6, 2019 at 12:00 p.m. Prather Decl. at ¶ 4 (App. p. 2); Ex. A (App. pp. 3-13).

Chapwood failed to respond to the Subpoena. Chapwood’s failure to produce documents pursuant

to the Subpoena has prevented NPR from adequately preparing its defense against Butowsky’s

claims.

                                             II.
                                          ARGUMENT

A.        The Subpoena is Proper and Seeks Relevant Information.

          Under Fed. R. Civ. P. 45, a party may serve a subpoena duces tecum commanding a

nonparty to “produce designated documents, electronically stored information, or tangible things

in [the nonparty’s] possession, custody, or control . . . .” FED. R. CIV. P. 45(a)(1)(A)(iii). The

Subpoena at issue here was properly served on Chapwood on November 18, 2019. Prather Decl.,

¶ 3 (App. p. 2); Ex. B (App. pp. 14-17). Rule 45(b)(2) allows a party to serve a subpoena “at any

place within the United States.” As shown by the Proof of Service attached to the Prather

Declaration, NPR served the Subpoena at Chapwood’s offices in Plano, Texas, which is clearly

within the United States. Id.

          Furthermore, under Rule 45,“[a]t any time, on notice to the [subpoenaed nonparty], the

serving party may move the court for the district where compliance is required for an order


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compelling production or inspection.” FED. R. CIV. P. 45(d)(2)(b)(i). “The court for the district

where compliance is required . . . may hold in contempt a person who, having been served, fails

without adequate excuse to obey the subpoena or an order related to it.” Id. “Rule 45(d)(2) governs

a motion to enforce or compel compliance with a subpoena, and its provisions . . . provide only

for ‘the court for the district where compliance is required’ to issue an order compelling production

or inspection on a proper motion.” Paso Del Norte Motors, LP v. Kia Motors of Am., Inc., No.

3:15-cv-2672-M, 2015 U.S. Dist. LEXIS 109351 at *2-3, 2015 WL 4939948 (N.D. Tex. Aug. 19,

2015). The Subpoena here was issued under the authority of the United States District Court for

the Eastern District of Texas, but it calls for compliance in the Northern District of Texas at Haynes

and Boone’s Dallas office. Accordingly, the Subpoena may be enforced by this Court.

       Parties in litigation may obtain discovery “regarding any non-privileged matter that is

relevant to any party’s claim or defense . . . .” FED. R. CIV. P. 26(b)(1). The documents sought

from Chapwood by the Subpoena are directly relevant to Butowsky’s allegations of damages. As

noted above, Butowsky alleges that NPR’s conduct caused “the termination and loss of

Chapwood’s Investment Manager Service Agreement with Charles Schwab,” as well as additional

“loss of clients.” Butowsky v. Folkenflik, et al., No. 4:18-CV-00442-ALM (E.D. Tex.), Second

Am. Compl., Dkt. 72 ¶ 11. Butowsky seeks $60 million in damages. Id. at p. 1. NPR’s subpoena

seeks documents supporting this allegation from Chapwood, and such documents are essential to

both Butowsky’s claims and NPR’s defense.

B.     Chapwood Waived Its Right to Object.

       By failing to respond to the Subpoena, Chapwood waived its right to object to it. In the

Fifth Circuit, “[t]he party resisting discovery must show specifically how each discovery request

is not relevant or otherwise objectionable.” Carr v. State Farm Mut. Auto. Ins., 312 F.R.D. 459,

463 (N.D. Tex. 2015). Objections to a Rule 45 subpoena to produce documents “must be served
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before the earlier of the time specified for compliance or 14 days after the subpoena is served.”

FED. R. CIV. P. 45(d)(2)(B). “The failure to serve written objections to a subpoena within the time

specified by Rule [45(d)(2)(B)] typically constitutes a waiver of such objections.” Isenberg v.

Chase Bank USA, N.A., 661 F. Supp. 2d 627, 629 (N.D. Tex. 2009) (quoting Concord Boat Corp.

v. Brunswick Corp., 169 F.R.D. 44, 48 (S.D.N.Y. 1996)).

       Here, Chapwood was served with the Subpoena on November 18, 2019. Its deadline to

object was December 2, 2019—14 days after the Subpoena was served. Chapwood did not timely

object. Chapwood was required to produce documents at the Dallas, Texas office of Haynes and

Boone, LLP on December 6, 2019 at 12:00 p.m. Chapwood failed to do so. Over a month after

its deadline, Chapwood requested an additional week to respond to the Subpoena. That extension

expired January 22, 2020, and Chapwood did not produce any documents. Therefore, Chapwood

has waived its right to object to the Subpoena. Accordingly, this Court should compel Chapwood

to produce all documents responsive to the Subpoena in its possession, custody or control.

                                            III.
                                        CONCLUSION

       NPR has established it is entitled to documents responsive to the Supboena. Without any

justification, excuse or response, Chapwood has failed to comply with the Subpoena, despite being

given ample opportunity to do so. For the foregoing reasons, NPR respectfully requests that this

Court compel Chapwood to promptly produce documents responsive to the NPR’s Rule 45

Subpoena to which it is entitled.



DATED: January 24, 2020



                                            Respectfully submitted,


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                           CERTIFICATE OF CONFERENCE


        The undersigned Counsel for Movants certifies that on January 14, 2020 Movants
attempted to meet and confer with Ms. Sams, Chapwood’s managing partner about this motion.
Ms. Sams did not respond. Movants’ Counsel forwarded the attempt to meet and confer to, Steven
Biss who informed Movants that he represented Chapwood. On January 15, 2020, Mr. Biss
requested an additional week to provide documents and NPR agreed to this request. Chapwood
did not respond within the additional week.

                                           /s/ Laura Lee Prather
                                           Laura Lee Prather




                               CERTIFICATE OF SERVICE


       The undersigned certifies that on January 24, 2020, the foregoing document was emailed
to Steven Biss, counsel for Chapwood, at stevenbiss@earthlink.net.


                                            /s/ Laura Lee Prather
                                            Laura Lee Prather


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